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(Official Form 1) (12/03)

 

FORM Bi

United States Bankruptcy Court

District of

Voluntary Petition

 

Name of Debtor (if indivi

Ye \\U

1, enter

Me \Waw VA

t, First, Middle):

Ao

 

Name of Joint Debtor Pa (Last, First, Middle):

 

Amy

All Other Names uséd by the Debtor in the last 6 years
(include married, maiden, and trade names):

All Other Names used by the Joint Debtor in the last 6 years
(include married, maiden, and trade names):

nu /A

 

No. (if more than one, state all):

Last four digits of Soc. Sec. No./Complete EIN or other Tax I.D.

LlOoaB

Last four digits of Soc. Sec.No./Complete EIN or other Tax I.D. No.
(if more than one, state all): A/ A

 

Street Address of Debtor (No. & Street, City, State & Zip Code):

Wb WotkeSside
League Cit X55 652

Street Address of Joint Debtor (No. & Street, City, State & Zip Code):

 

County of Residence or of the
Principal Place of Business:

Galveston.

County of Residence or of the
Principal Place of Business:

 

yp 6: Box |
KWemen

Mailing Address of Debtor (if different from street address):

49qY

ITY I1T 6S

Mailing Address of Joint Debtor (if different from street address):

 

 

Location of Principal Assets of Business Debtor
(if different from street address above):

 

Information Regarding the Debtor (Check the Applicable Boxes)

Venue (Check any applicable box)

(C] Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
preceding the date of this petition or for a longer part of such 180 days than in any other District.
CO There isa bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.

 

B individual(s)
Corporation
CI Partership
oO Other

Type of Debtor (Check all boxes that apply)

() Railroad

( Stockbroker

O Commodity Broker
CO Clearing Bank

Chapter or Section of Bankruptcy Code Under Which
the Petition is Filed (Check one box)
$4 Chapter 7 (CJ Chapter 11 C1 Chapter 13
(CJ Chapter 9 (1 Chapter 12
DD Sec. 304 - Case ancillary to foreign proceeding

 

YM Consumer/Non-Business

Nature of Debts (Check one box)

(] Business

 

Filing Fee (Check one box)
() Full Filing Fee attached

 

11 U.S.C. § 1121 (¢) (Optional)

Chapter 11 Small Business (Check all boxes that apply)
Debtor is a small business as defined in 11 U.S.C. § 101
(1 Debtor is and elects to be considered a small business under

Filing Fee to be paid in installments (Applicable to individuals only)
Must attach signed application for the court's consideration
certifying that the debtor is unable to pay fee except in installments.
Rule 1006(b). See Official Form No. 3.

 

 

 

 

 

 

Statistical/Administrative Information (Estimates only) THIS SPACE IS FOR COURT USE ONLY
(1 Debtor estimates that funds will be available for distribution to unsecured creditors.
hi Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will Uni Sta
be no funds available for distribution to unsecured creditors. Southern De, Districg C
'Stri Cure
Estimated Number of Creditors 1-15 16-49 50-99 100-199 200-999 1000-over J Fit ED of Texas
g@ OF OF OF OO Oo UN Os 2
Estimated Assets Mich 009
$0 to $50,001 to $100,001 to $500,001 to $1,000,001 to $10,000,001 to $50,000,001 to + More than a0] N Mi;
$50,000 $100,000 $500,000 $1 million $10 million $50 million $100 million $100 million Clerk, Of fo llby
S| 0 O Oo O ure
Estimated Debts
$0 to $50,001 to $100,001 to $500,001 to = $1,000,001 to += $10,000,001 to $50,000,001 to More than
$50,000 $100,000 $500,000 $1 million $10 million $50 million $100 million $100 million
O O O YM O O O O

 

 

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(Official Form 1) (12/03)

FORM B11, Page 2

 

Vol Petition
(This page must be completed and filed in every case)

Name of Debtor(s); |
YWNAZ UNL GA

Kx]

 

Vi

 

Location

Where Filed: U/ a

Prior Bankruptcy Case Filed Within Last 6 Years (If more than one, attach additional sheet)

iled:

Case Numer |e i

 

Pending Bankruptcy Case Filed by any Spouse, Partner o

Name of Debtor:
N/A

r Affiliate of this Debtor (If more than one, attach additional sheet)

Case Number: Date Filed:
NM / A- Al / 4-

 

District:

NI

Relationship:

WW lh Judge: a /A

 

 

Signa

Signature(s) of Debtor(s) (Individual/Joint)

| declare under penalty of perjury that the information provided in this
petition is true and correct.

[If petitioner is an individual whose debts are primarily consumer debts
and has chosen to file under chapter 7] [ am aware that | may proceed
under chapter 7, 11, 12 or 13 of title 11, United States Code, understand
the relief available under each such chapter, and choose to proceed
under chapter 7.

| request relief in accordance with the chapter of title 11, United States

Code, specified in this petition. ,
Kirk pt VY. Eh.

Signature of Debtor

X

 

Signature of Joint Debtor
A>lo-U94-5 67°

Telephone Number (If not represented by attorney)
OU Downe 2004

tures

Exhibit A
(To be completed if debtor is required to file periodic reports
(e.g., forms 10K and 10Q) with the Securities and Exchange
Commission pursuant to Section 13 or 15(d) of the Securities
Exchange Act of 1934 and is requesting relief under chapter 11)

(Exhibit A is attached and made a part of this petition.

 

Exhibit B
(To be completed if debtor is an individual
whose debts are primarily consumer debts)
1, the attorney for the petitioner named in the foregoing petition, declare
that | have informed the petitioner that [he or she] may proceed under
chapter 7, 11, 12, or 13 of title 11, United States Code, and have
explained the relief available under each such chapter.

X

 

Signature of Attorney for Debtor(s) Date

 

Exhibit C
Does the debtor own or have possession of any property that poses
or is alleged to pose a threat of imminent and identifiable harm to
public health or safety?

 

Date
Signature of Attorney

X

C1 Yes, and Exhibit C is attached and made a part of this petition.

1 No

 

Signature of Attorney for Debtor(s)

 

Printed Name of Attorney for Debtor(s)

 

Firm Name

 

Address

 

 

Telephone Number

 

Date

Signature of Non-Attorney Petition Preparer

| certify that | am a bankruptcy petition preparer as defined in 11 U.S.C.
§ 110, that f prepared this document for compensation, and that | have
provided the debtor with a copy of this document.

 

Printed Name of Bankruptcy Petition Preparer

 

Social Security Number (Required by 11 U.S.C.§ 110(c).)

 

Address

 

 

Signature of Debtor (Corporation/Partnership)
| declare under penalty of perjury that the information provided in this
petition is true and correct, and that | have been authorized to file this
petition on behalf of the debtor.

The debtor requests relief in accordance with the chapter of titte 11,
United States Code, specified in this petition.

 

Signature of Authorized Individual

 

Printed Name of Authorized Individual

 

Title of Authorized Individual

 

Date

Names and Social Security numbers of all other individuals who
prepared or assisted in preparing this document:

If more than one person prepared this document, attach
additional sheets conforming to the appropriate official form for
each person.

X

Signature of Bankruptcy Petition Preparer

 

 

Date
A bankruptcy petition preparer’s failure to comply with the provisions
of title 11 and the Federal Rules of Bankruptcy Procedure may result
in fines or imprisonment or both 11 U.S.C. §110; 18 U.S.C. §156.

 

 

 

 
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Official Form 4
11/92

United States Bankruptcy Court
District Of

Inre Dime a Yu. \ | Y , Case No.

Debtor '
Chapter

LIST OF CREDITORS HOLDING 20 LARGEST UNSECURED CLAIMS

Following is the list of the debtor's creditors holding the 20 largest unsecured claims. The list is
prepared in accordance with Fed. R. Bankr. P. 1007(d) for filing in this chapter 11 [or chapter 9] case.
The list does not include (1) persons who come within the definition of "insider" set forth in 11 U.S.C.

§ 101, or (2) secured creditors unless the value of the collateral is such that the unsecured deficiency
places the creditor among the holders of the 20 largest unsecured claims.

 

Q) (2) (3) (4) (5)
Name of creditor Name, telephone number and Nature of claim Indicate if claim Amount of claim
and complete complete mailing address, (trade debt, is contingent, Lif secured also
mailing address including zip code, of bank loan, govern- _ unliquidated, state value of
including zip employee, agent, or department ment contract, disputed or security]
code of creditor familiar with etc.) subject to setoff

claim who may be contacted

 

 

 

DECLARATION UNDER PENALTY OF PERJURY
ON BEHALF OF A CORPORATION OR PARTNERSHIP

I, [the president or other officer or an authorized agent of the corporation] [or a member or an authorized agent of the
partnership] named as the debtor in this case, declare under penalty of perjury that I have read the foregoing list and that it is true
and correct to the best of my information and belief.

Date

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